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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                         Case No. 15-20652-05
                                                         HON. GEORGE CARAM STEEH
vs.

QUINCY GRAHAM ,

                Defendant.
___________________________________/

                 ORDER GRANTING GOVERNMENT’S MOTION
           TO STRIKE DEFENDANT’S FIVE PRO SE MOTIONS [DOC. 225]


       Defendant Quincy Graham, although represented by counsel, filed five pro se

motions:

!      Motion for Discovery [doc. 217]

!      Motion to Compel Disclosure of Exculpatory Evidence [doc. 218]

!      Motion to Compel Preservation of Notes and Other Investigative Material [doc.

       219]

!      Motion to Compel Government to Give Notice of Intent to Use Evidence of Other

       Crimes, Wrongs or Acts [doc. 220]

!      Motion for Release on Personal Recognizance Bail [doc. 221]

A person's right to appear pro se or by counsel is disjunctive, and a person in a criminal

matter has no right, constitutional or otherwise, to "hybrid representation" that results in

simultaneous self-representation and representation by counsel. 28 U.S.C. § 1654;

United States v. Mosely, 810 F.2d 93, 97-98 (6th Cir. 1987). Accordingly,

                                              1
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      IT IS ORDERED that the Clerk hereby STRIKE defendant's pro se motions

[docs. 217 - 221].

Dated: June 21, 2016


                                               S/George Caram Steeh
                                               GEORGE CARAM STEEH
                                               UNITED STATES DISTRICT JUDGE

                                     CERTIFICATE OF SERVICE

                     Copies of this Order were served upon attorneys of record and
                      Quincy Graham #57272-039, PO Box 1000, Milan, MI 48160
                                                   on
                           June 21, 2016, by electronic and/or ordinary mail.

                                        S/Marcia Beauchemin
                                           Deputy Clerk




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